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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
                                       :
UNITED STATES OF AMERICA               :
                                       :              18cr184-3 (DLC)
               -v-                     :
                                       :                    ORDER
MARC DEMANE DEBIH,                     :
                                       :
                         Defendant.    :
                                       :
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DENISE COTE, District Judge:

     On November 18, 2021, defense counsel informed the Court

that the defendant prefers that the sentencing in this matter

occur via videoconference as opposed to in person.         Accordingly,

it is hereby

     ORDERED that the conference is rescheduled to December 10,

2021 at 3:00 PM shall proceed via the Microsoft Teams

videoconference platform, if that platform is reasonably

available.   To access the conference, please follow this link:

https://teams.microsoft.com/l/meetup-

join/19%3ameeting_OWI2MDc5NDItNTNiYy00ODhmLWFmZTEtOWUyMjBhZmFlYj

Yy%40thread.v2/0?context=%7b%22Tid%22%3a%221d66f037-8266-4d1c-

919c-67c6543d3542%22%2c%22Oid%22%3a%22f281b8d8-5887-44a5-9566-

8c44f6aaf05d%22%7d
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     To use this link, you may need to download software to use

the platform’s videoconferencing features. 1       The link in this

order is currently live.     Participants are directed to test

their videoconference setup in advance of the conference --

including their ability to access the link.         Defense counsel

shall assist the defendant in testing the videoconference

capability so that the defendant can participate by

videoconference.    Participants, including defense counsel, shall

report any difficulties accessing the link to chambers no later

than 24 hours in advance of the conference so that chambers may

assist the parties.

     Users who are unable to download the Microsoft Teams

application may access the meeting through an internet browser,

although downloading the Teams application is highly

recommended. 2   If the participant is using an internet browser,

it is recommended to use either Microsoft Edge or Google Chrome

as Teams is not fully compatible with other browsers.

Participants should also ensure that their webcam, microphone,

and headset or speakers are all properly configured to work with

Microsoft Teams.    For general guidelines for participation in


1 See Microsoft, Download Microsoft Teams (last visited Dec. 7,
2020), https://www.microsoft.com/en-us/microsoft-365/microsoft-
teams/download-app.
2 Please note that participants who access the Teams meeting

using an internet browser may only be able to view one
participant at a time.


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